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Non tee DISTRICT COURT
THERN DISTRICT OF TEXAS
FILED

: IN THE UNITED STATES DISTRICT COURT MAR 2 0 2023
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION CLERK, U.S. DISTRICT COURT
By. -
FREEDOM COALITION OF DOCTORS ny
FOR CHOICE,
Plaintiff,

v. 2:23-CV-009-Z
CENTERS FOR DISEASE CONTROL
AND PREVENTION,

_ Defendant.

NOTICE

Before the Court is Plaintiffs Notice of Voluntary Dismissal (ECF No. 13), filed on March
14, 2023. The filing is “a notice of dismissal” filed “before the opposing party serve[d] either an
answer or a motion for summary judgment.” FED. R. Civ. P. 41(a)(1)(A)(i). Defendant has done
neither. Plaintiff is entitled to voluntary dismissal without prejudice because a “notice of dismissal
is self-effectuating and terminates the case in and of itself; no order or other action of the district
court is required.” Bechuck v. Home Depot U.S.A., Inc., 814 F.3d 287, 291 (Sth Cir. 2016) (internal
marks omitted). Therefore, the Court DIRECTS the United States District Clerk to close the case.

The Court issues notice accordingly.

March 472023 4 bp

MAZTHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

